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           ORDERED in the Southern District of Florida on March 3, 2015.




                                                              A. Jay Cristol, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA

         IN THE MATTER OF:                              CASE NO.: 14-30601-AJC
         ANDRES ROJAS                                   CHAPTER 13
                      Debtor,
         ________________________________/

          ORDER GRANTING MOTION TO VALUE AND DETERMINE SECURED STATUS OF
                            LIEN ON PERSONAL PROPERTY
                   HELD BY SANTANDER CONSUMER USA, INC. [D.E #33]

                 THIS CASE came to be heard on February 24th, 2015 on the Debtor’s Motion to

          Value and Determine Secured Status of Lien on Personal Property held by SANTANDER

          CONSUMER USA, INC. (DE #33; the “Motion”). Based upon the debtor’s assertions

          made in support of the Motion, without objection, having considered the record in this

          case, and being duly advised in the premises, the Court FINDS as follows:

                 A. The value of the debtor’s personal property (the “Personal Property”) more



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             particularly described as follows (Select only one):

              X         Motor vehicle described as follows:
                        Year and Model of motor vehicle: 2006 VW JETTA
                        Vehicle Identification Number (VIN #): 3VWSF71K46M800092
                        Odometer reading: 83463

                        Personal property other than a motor vehicle described as follows:


             is $ 3,000.00 at the time of the filing of this case.

             Consequently, it is ORDERED as follows:

             1.     The Motion is GRANTED.

             2.     Lender has an allowed secured claim in the amount of $3,000.00.

             3. Lender filed a proof of claim in this case. It shall be classified as a
                    secured claim in the amount provided in paragraph 2, above, and as a
                    general unsecured claim in the amount of $ 2,980.61 , regardless of the
                    original classification in the proof of claim as filed. Lender’s secured claim
                    shall be paid through the plan at 5.25 % for a total of $3,417.48.

             4.     The Personal Property may not be sold or refinanced without proper notice
                    and further order of the Court.
             5.     Notwithstanding the foregoing, this Order is not recordable or enforceable
                    until the debtor receives a discharge in this chapter 13 case.
             6.     Upon notification that the debtor has received a discharge, the creditor shall
                    take all steps necessary to release the lien upon the personal property.
                                                ###


Submitted by:
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The party submitting the order shall serve a copy of the signed order on all required
parties and file with the court a certificate of service conforming with Local Rule 2002-1(F).


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